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   November 29, 2021


   The Honorable Leo I. Brisbois
   U.S. Courthouse
   514 West First Street
   Duluth, MN 55802
   brisbois_chambers@mnd.uscourts.gov

   Re:    Scott Holman v. City of Cloquet, et al.
          Case No.: 20-CV-00224 (PJS/LIB)

   Dear Magistrate Judge Brisbois:

   On 11/22/21, I had subpoenaes served on two individuals, witnesses for the case, and a third
   witness was subpoenaed the next day. The depositions were set for today.

   Last week I was advised that all three had retained counsel. One witness will not need to be
   deposed. An affidavit is being provided in lieu of that.

   Regarding the second witness, I just spoke with her counsel last Friday, just this past Friday,
   11/26/21, and we are going to try to work out the issues that he has raised regarding the
   testimony of that witness.

   The third witness was not available to testify today since he was apparently on a family vacation.
   I have received a letter from his counsel which will potentially involve motion practice to
   address the issues of concern for this witness.

   Pursuant to your scheduling order dated 10/27/20, discovery is to terminate tomorrow. I
   respectfully request a brief continuance of that cutoff date, perhaps to the end of December, to
   deal with potential issues regarding these two issues.

   I deposed the HR director for the City defendant on 11/19/21. Based on this deposition and other
   issues that have developed since that date, a substantive issue has arisen regarding Minnesota
   law as it pertains to data practices and circumstantial evidence to support Plaintiff’s claims. In
   light of this newly discovery evidence in discovery, expert testimony is required to address it.

   Your order required the disclosure of expert witnesses by Plaintiff on 9/3/21. In light of this
   newly discovered evidence, Your Honor, we feel the need to retain an expert to address these
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issues.

We seek your input as to how to proceed with these discovery issues.

Sincerely,



Michael B. Padden
Attorney at Law

MBP/mls

cc:   Jessica E. Schwie, Esq.
      Michelle A. Christy, Esq.
      Paul Applebaum, Esq.
